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                 ORAL ARGUMENT NOT YET SCHEDULED
                                  No. 22-7063
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT
            AMERICAN SOCIETY FOR TESTING AND MATERIALS, et al.,
                               Appellants
                                   v.
                       PUBLIC.RESOURCE.ORG, INC.,
                                Appellee

                  Appeal from the United States District Court
                          for the District of Columbia
                 Hon. Tanya S. Chutkan, No. 1:13-cv-1215-TSC

                       APPELLANTS’ REPLY BRIEF

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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

         Pursuant to Circuit Rule 28(a)(1), Appellants certify as follows:

         A.    Parties and amici

         Appellants are American Society for Testing and Materials d/b/a ASTM

International (“ASTM”), National Fire Protection Association, Inc. (“NFPA”), and

American Society of Heating, Refrigerating, and Air Conditioning Engineers, Inc.

(“ASHRAE”), which were the Plaintiffs/Counter-Defendants in the district court.

Appellee is Public.Resource.Org, which was the Defendant/Counter-Plaintiff in the

district court.

         The following individuals/entities submitted amicus briefs to the district

court:

    Ann Bartow

    American Insurance Association

    American Library Association

    American National Standards Institute, Incorporated

    American Property Casualty Insurance Association

    American Society of Safety Engineers

    Brian L. Frye

    David Ardia

    Elizabeth Townsend Gard


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   Institute of Electrical and Electronic Engineers, Incorporated

   International Association of Plumbing & Mechanical Officials

   International Code Council, Inc.

   James Gibson

   Jessica Silbey

   Jennifer Urban

   Jonathan Zittrain

   Knowledge Ecology International

   National Electrical Manufacturers Association

   North American Energy Standards Board

   Pamela Samuelson

   Public Knowledge

   Rebecca Tushnet

   Reporters Committee for Freedom of the Press

   Sina Bahram

   Stacey Dogan

   Stacey M. Lantagne

   Underwriters Laboratories Inc.

  The following individuals/entities submitted amicus briefs to this Court:

   Aaron Perzanowski

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   American Dental Association

   American Federation of State, County and Municipal Employees

   American Hospital Association

   American Medical Association

   American National Standards Institute, Inc.

   American Society of Civil Engineers

   The American Society of Magazine Editors

   Atlantic Monthly Group LLC

   Authors Alliance

   Christine Farley

   The Copyright Alliance

   County of Sonoma

   EveryLibrary Institute

   Freedom of the Press Foundation

   Institute of Electrical and Electronics Engineers, Inc.

   International Code Council

   Investigative Reporting Workshop

   James Gibson

   Jamie Boyle


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   Jessica Silbey

   Joshua Sarnoff

   Julie Cohen

   Lawrence Lessig

   Library Futures Institute

   Mark Lemley

   Matthew Sag

   Media Institute

   Michael A. Carrier

   Michael Carroll

   National Association for the Advancement of Colored People

   National Electrical Manufacturers Association

   National Press Photographers Association

   The News Leaders Association

   North American Energy Standards Board

   Pamela Samuelson

   Peter Jaszi

   Prime Access Consulting, Inc.

   Pro Publica, Inc.

   Public Knowledge

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   Radio Television Digital News Association

   Raymond A. Mosley

   Reporters Committee for Freedom of the Press

   Robert C. Tapella

   Society of Environmental Journalists

   Shubha Ghosh

   Tully Center for Free Speech

   ULSE Incorporated

   Victoria Phillips

   Xiyin Tang

   Yvette Joy Liebesman

   Zoe Lofgren

     B.    Rulings under review

     References to the rulings under review appear in Appellants’ Brief.

     C.    Related cases

     A statement of related cases appears in Appellants’ Brief.




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                      GLOSSARY OF ABBREVIATIONS

ASHRAE             American Society of Heating, Refrigerating, and Air
                   Conditioning Engineers

ASTM               American Society for Testing and Materials

IBR                Incorporation by Reference

NFPA               National Fire Protection Association

OFR                Office of Federal Register

SMF                Plaintiffs’ Statement of Material Facts in Support of Their
                   Motion for Summary Judgment

Supp. SMF          Plaintiffs’ Supplemental Statement of Material Facts in Support
                   of Their Motion for Summary Judgment and in Opposition to
                   Defendant’s Motion for Summary Judgment

2d. Supp. SMF      Plaintiffs’ Second Supplemental Statement of Material Facts in
                   Support of Their Second Motion for Summary Judgment




* Authorities upon which Plaintiffs principally rely are marked with asterisks.
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                       STATUTES AND REGULATIONS

      Except for the following, all applicable statutes, rules, regulations, etc. are

contained in Appellants’ Brief or Appellee’s Brief.

    Office of Management and Budget Circular A-119 (2016)

    Incorporation by Reference, 79 Fed. Reg. 66,267 (Nov. 7, 2014)

    H.R. Rep. 94-1476 (1976)

    H.R. Rep. 113-152 (2013)

      Excerpts of or a complete version of the above-listed sources are set forth in

the Addendum to this brief.




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                           SUMMARY OF ARGUMENT

        Public.Resource.Org cannot square the district court’s decision with this

Court’s fair use guidance in American Society for Testing & Materials v.

Public.Resource.Org, Inc., 896 F.3d 437 (D.C. Cir. 2018) (“ASTM II”).

Public.Resource.Org ignores this Court’s direction in favor of cherry-picked

quotations from an Office of the Federal Register (“OFR”) Handbook and an OFR

official’s   three-line   email   response       to   Public.Resource.Org.     Although

Public.Resource.Org has the burden, Plaintiffs’ undisputed expert economic

evidence establishes the consequences to Plaintiffs’ markets if its conduct were to

become widespread. Public.Resource.Org’s mass copying and distribution is not

fair.

        Public.Resource.Org alternatively makes a sweeping and meritless argument

that incorporation by reference (“IBR”) strips the Works of copyright. Copyright

protection is instant and automatic for privately-authored works, like Plaintiffs’. No

government official writes any Works verbatim into statute or regulation through

IBR, and Plaintiffs’ copyrights are not divested by subsequent IBR. To argue

otherwise, Public.Resource.Org must contort the Supreme Court’s “straightforward

rule” for whether a work is a government edict which turns “on the identity of the

author.” Georgia v. Public.Resource.Org, Inc., 140 S. Ct. 1498, 1506 (2020). Nor

does the Constitution require vitiating Plaintiffs’ copyrights. All the Works are



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“reasonably available,” 5 U.S.C. § 552(a): Plaintiffs post them online for anyone to

read for free.   This Court, like all other appellate courts to consider similar

arguments, previously declined the extreme result Public.Resource.Org advocates.

It should do so again—such a result lacks legal basis, and would thwart Congress’

will and undermine the self-funded process necessary to create independent

voluntary-consensus standards.

      Finally, Public.Resource.Org’s unlawful copying and distribution of non-

IBR’d Works warrants a permanent injunction.

      The judgment should be vacated and remanded for the proper application of

ASTM II, and the denial of injunctive relief reversed.

                                   ARGUMENT

I.    Public.Resource.Org’s Request For A Broad Constitutional Ruling Is
      Legally and Factually Unsupported.

      Swinging for the fences, Public.Resource.Org and its chorus of amici argue

that the Constitution commands that Plaintiffs’ copyrights be vitiated so “the law”

may be set free. The various incantations of this argument ignore that Plaintiffs’

Works are already available on their websites without charge; no one has been

deprived of the ability to read, comment on, or criticize them. Congress and the

Executive Branch have balanced the need to incentivize the creation of standards

with the public’s right to know what they say. There is no cause to upset that balance

when there is no evidence anyone has been unable to access Plaintiffs’ Works.


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          A.   No one has been unable to access the Works.

      Public.Resource.Org and its amici say that allowing the copyrights to stand

imperils the public’s right to “[a]ccess, [a]nalyze, and [c]riticize the law,” Appellee’s

Br. 24; forces citizens and government enforcers “to pay [Plaintiffs] to find out what

[the law] says,” Sonoma County Br. 6; and makes “access to the law” turn on one’s

“resources,” AFSCME Br. 10.

      This dramatic rhetoric has no support. No one has to pay a penny to read the

Works.     JA5107 (2d. Supp. SMF ¶85).          After a decade of litigation, neither

Public.Resource.Org nor its amici cited a single instance in which anyone who

wanted to access, discuss, or comment on any Work was unable to do so for free.

JA286, 305 (SMF ¶¶168, 275).

      Public.Resource.Org’s extra-record anecdotes provide no support. Bellwether

Properties, LLC v. Duke Energy Indiana, Inc., 87 N.E.3d 462, 468 (Ind. 2017),

Appellee’s Br. 8-9, 16, 54, involved a non-Plaintiff organization’s standard. Getty

Petroleum Marketing, Inc. v. Capital Terminal Co., 391 F.3d 312, 320 (1st Cir.

2004), Appellee’s Br. 9, 38, involved a standard also not in issue.1



      1
         Plaintiffs did not move for summary judgment on ASHRAE’s “1993
Handbook,” Appellee’s Br. 41, and that work is not before this Court. The graduate
student who contacted ASTM, id. 41-42, did not claim to be unable to access any
ASTM standard and was seeking permission to post online two standards, not Works
in suit, for non-educational purposes, JA8796-8797 (Dkt. 212-1, ¶106); JA2631
(Dkt. 122-7, Ex. 117).


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      Public.Resource.Org also mischaracterizes Public.Resource.Org Inc. v. Cal.

Office of Administrative Law, No. 24-2021-80003612 (Cal. Super. Ct. filed Mar. 17,

2021), Appellee’s Br. 22. Public.Resource.Org challenged the denial of its request

for an electronic copy of an NFPA Work under the California Public Records Act.

That denial was no different from the numerous federal denials of

Public.Resource.Org’s similar requests. JA287 (SMF ¶¶176-77). Again, no one has

been unable to access the IBR’d standard. JA7274 (Dkt. 204-42, Marvelli Dep.

179:10-14).

      Public.Resource.Org says the access Plaintiffs provide is not free because

online users must register or agree to terms of service. Appellee’s Br. 10. Such

terms are ubiquitous and do not show lack of access. The Internet Archive, where

Public.Resource.Org posts Plaintiffs’ Works, has terms of service. See Internet

Archive’s Terms of Use, Privacy Policy, and Copyright Policy, https://archive.org/

about/terms.php (Dec. 31, 2014). PACER requires registration and consent to

monitoring. See Registration, https://pacer.psc.uscourts.gov/pscof/registration.jsf

(accessed Jan. 13, 2023); Manage My Account, https://pacer.psc.uscourts.gov/pscof/

login.xhtml (accessed Jan. 13, 2023).

      Public.Resource.Org, moreover, lacks standing to bring a due process claim.

It does not claim to be subject to enforcement arising out of any IBR’d Work and

cannot satisfy the exacting requirements for third-party standing. See Sessions v.



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Morales-Santana, 137 S. Ct. 1678, 1689 (2017).                Public.Resource.Org’s

constitutional arguments fail in this case, with these parties, and these Works.

        B.    Eliminating Plaintiffs’ copyrights in IBR’d Works would exact
              significant and needless costs from Plaintiffs and the public.

      Contrary to Public.Resource.Org’s misleading characterization that Plaintiffs

merely “convene volunteers,” Appellee’s Br. 3, 45, Plaintiffs develop their Works

through a robust voluntary consensus process that requires millions of dollars of

annual investment from each organization, JA257, 261-263, 273-276, 279-281, 283

(SMF ¶¶6-8, 28-37, 43-44, 104-05, 109-19, 135-41, 152). Plaintiffs depend on sales

of their Works to self-fund standards development. JA264, 273, 283-284 (SMF

¶¶45-46, 106, 153-54). Without copyright protection, Plaintiffs would lose a crucial

funding stream necessary to support their work, JA741-743, 745-746, 748-749, 763-

766 (Jarosz Report ¶¶80-83, 90-91, 97-98, 131-38); JA5105-5107 (2d. Supp. SMF

¶¶77-84), and the public would lose the benefits of an important private-public

partnership that enhances safety without burdening taxpayers, JA303-304 (SMF

¶¶265-71; JA666-667 (Dkt. 118-9, ¶¶11-14); JA355-356 (Dkt. 118-6, ¶¶22-24).

While purporting to express gratitude for the work Plaintiffs do, JA893-895 (Dkt.

118-12, Ex. 2 (C. Malamud Dep. 306:03-308:04)); Sonoma County Br. 11,

Public.Resource.Org and its amici offer no viable solution for how Plaintiffs can

continue that work without the protection of their copyrights.




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      ASTM II recognized the importance of Plaintiffs’ Works and declined to

consider Public.Resource.Org’s “bright-line rule” eliminating copyright because of,

inter alia, “the economic consequences that might result from [Plaintiffs] losing

copyright.” 896 F.3d at 446-47. The same reasoning applies now. Every other

appellate court has declined to accept the sort of all-or-nothing framework

Public.Resource.Org presses.

      The Second and Ninth Circuits reaffirmed copyright protection for IBR’d

standards, rejecting the plea to “vitiate copyright,” noting that it could “prove

destructive of the copyright interest in encouraging creativity,” by depriving private

entities of an “economic incentive[]” to develop their work. CCC Info. Servs., Inc.

v. Maclean Hunter Mkt. Reports, Inc., 44 F.3d 61, 65, 73-74 n.30 (2d Cir. 1994)

(quoting Nimmer on Copyright § 5.06[C] at 5-60); Practice Mgmt. Info. Corp. v.

American Med. Ass’n, 121 F.3d 516, 518 (9th Cir. 1997).

      Public.Resource.Org’s attempted distinction of CCC and Practice

Management, as involving mere “citations to reference works,” Appellee’s Br. 23,

is wrong.   In Practice Management, a party that wanted to obtain Medicaid

reimbursement had to utilize codes the medical association created. 121 F.3d at 518.

Under this Court’s articulation, the association’s work was “legally binding.” ASTM

II, 896 F.3d at 443. In CCC, the publisher’s car-valuation book had been adopted as

one means of complying with a binding legal requirement, 44 F.3d at 73, and thus



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told “the regulated entity how it” could satisfy “codified requirements,” ASTM II,

896 F.3d at 443.

      Veeck v. Southern Building Code Congress International, Inc., 293 F.3d 791

(5th Cir. 2002), and Building Officials & Code Administrators v. Code Technology,

Inc., 628 F.2d 730 (1st Cir. 1980) (“BOCA”), likewise refrained from adopting the

uncompromising position Public.Resource.Org advances. Veeck, responding to an

amicus brief filed by NFPA and others, said its holding did not apply to “references

to extrinsic standards,” and so would not result in organizations’ copyrights “be[ing]

vitiated simply by the common practice of governmental entities’ incorporating their

standards in laws and regulations.” 293 F.3d at 803-04.2 BOCA declined to “rule

finally on the question,” recognizing the potential need “to accommodate modern

realities” and the “important public function” served by standards development

organizations. 628 F.2d at 735-36. This reasoning is even more true today given

Public.Resource.Org’s ambition of copying and distributing all of Plaintiffs’ IBR’d



      2
         The Solicitor General’s brief that Public.Resource.Org cites is not a
precedential court decision. That brief limited its discussion to the particular
circumstances of Veeck and said mere IBR of a work might not allow the public to
“copy it freely.” U.S. Br. 15, 18-19, Veeck, No. 02-355 (U.S. May 2003). This is
consistent with the Solicitor General’s position in Practice Management that
“[n]othing in the Copyright Act . . . would permit a termination of copyright
protection in these circumstances.” U.S. Br. 7, Practice Mgmt., No. 97-1254 (U.S.
Aug. 1998). Regardless, interpreting Veeck to strip copyright from privately-
authored works that later become “the law” is inconsistent with the Supreme Court’s
holding in Georgia. See infra, II.


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Works, Appellee’s Br. 58; the emergence of for-profit companies copying

Public.Resource.Org, Nat’l Fire Protection Ass’n, Inc. v. UpCodes, Inc., Case No.

21-5262 (C.D. Cal., filed June 29, 2021); and the political branches’ reaffirmation

of the importance of respecting copyright in IBR’d standards, see Appellants’ Br. 6-

8; infra, I.C., II.

         C.      Congress balanced the public’s entirely compatible interests in
                 access to IBR’d standards and allowing copyright to support the
                 independent creation of those standards.

       Congress addressed Public.Resource.Org’s concerns through 5 U.S.C.

§ 552(a), which requires that any standard to be IBR’d be “reasonably available to

the class of persons affected thereby.” Under this provision, agencies “work with

the relevant standards developer to promote the availability of [their] materials,”

while “respecting the copyright owner’s interest in protecting its intellectual

property.”     Office of Management and Budget Circular A-119, at 21 (2016)

(emphasis added).

       Public.Resource.Org and amicus Congresswoman Lofgren have urged

Congress and the Executive Branch to reconsider that balance, but were rejected. In

2012, Public.Resource.Org’s founder (and others) petitioned OFR to vitiate

copyright and make material IBR’d available for free online; that proposal was

rejected. 79 Fed. Reg. 66,267, 66,268 (Nov. 7, 2014). In 2018, Congresswoman

Lofgren co-sponsored a bill to end copyright protection for IBR’d standards. H.R.



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5305, 115th Cong. (2018). That bill did not become law. Public.Resource.Org and

amici may ask Congress to rethink its judgment but provide no cause for this Court

to upset it. Georgia, 140 S. Ct. at 1511 (“[I]t is generally for Congress, not the

courts, to decide how best to pursue the Copyright Clause’s objectives.”) (quoting

Eldred v. Ashcroft, 537 U.S. 186, 212 (2003)).

      Congress also “balance[d] … the First Amendment and the Copyright Act”

through the fair use defense. Harper & Row Publishers, Inc. v. Nation Enterprises,

471 U.S. 539, 556 (1985); see also Golan v. Holder, 565 U.S. 302, 328 (2012) (fair

use is a “built-in First Amendment accommodation”).3 ASTM II provides that fair

use may permit limited copying of IBR’d material essential to complying with a

legal duty, but otherwise protects Plaintiffs’ copyrights. See infra, III. While




      3
         First Amendment protections are also built into the Copyright Act’s
distinction between copyrightable expression and uncopyrightable ideas. Golan,
565 U.S. at 328. Public.Resource.Org argues that Plaintiffs’ Works are
uncopyrightable. Appellee’s Br. 27-28, 44-45. Copyrightability is gauged at the
time of creation. Oracle Am., Inc. v. Google Inc., 750 F.3d 1339, 1361 (Fed. Cir.
2014); U.S. Br. at 14-15, Google LLC v. Oracle Am., Inc., No. 18-956 (Sept. 2019).
At the time Plaintiffs created the Works, they were copyrightable: they had not been
IBR’d and were original expressions of ideas that can be expressed in multiple ways
(as evidenced by the fact that standards development organizations write standards
on similar subjects in different ways). JA262 (SMF ¶38).
      Separately, by failing to cross-appeal on its copyrightability or constitutional
arguments, Public.Resource.Org has waived these arguments to the extent they
would expand the judgment below. See Jennings v. Stephens, 574 U.S. 271, 276
(2015).


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Plaintiffs disagree that Public.Resource.Org satisfied its burden of proving fair use,

the defense exists and fully addresses the claimed First Amendment concerns.

II.   The Government Edicts Doctrine Is Inapplicable To Plaintiffs’ Works.

      Public.Resource.Org wrongly argues the Georgia decision “[n]aturally

[e]xtends” to Plaintiffs’ Works. Appellee’s Br. 19. The district court properly

rejected this argument. JA9283-9284 (Memorandum Opinion 19-20).

      Georgia held the government edicts doctrine imposes a “straightforward

rule,” which turns “on the identity of the author.” 140 S. Ct. at 1506. If the author

is an “official[] empowered to speak with the force of law,” they are not a copyright

“author” if they “create[d the work] in the course of their official duties.” Id. at

1504. But the doctrine “does not apply” to works authored by “private parties[] who

lack the authority to make or interpret the law.” Id. at 1507 (emphasis added). Thus:

         Instead of examining whether given material carries “the force of
         law,” we ask only whether the author of the work is a judge or a
         legislator. If so, then whatever work that judge or legislator
         produces in the course of his judicial or legislative duties is not
         copyrightable. That is the framework our precedents long ago
         established, and we adhere to those precedents today.

Id. at 1513. Following the Supreme Court’s “straightforward rule,” the government

edicts doctrine does not apply to Plaintiffs’ privately authored Works. Id. at 1506.

      Public.Resource.Org’s argument that government officials authored the

Works because some government employees participate on Plaintiffs’ technical

committees, Appellee’s Br. 20, mischaracterizes the process as government-driven


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(it is not) and re-litigate the authorship question this Court rejected. ASTM II, 896

F.3d at 446 (claim of government authorship “forfeited” and “meritless”). That

ruling is law of the case as to the ten Works previously at issue. See LaShawn A. v.

Barry, 87 F. 3d 1389, 1393 (D.C. Cir. 1996). As to the remaining Works, the district

court correctly found that Public.Resource.Org “proffered no evidence” of

government authorship. JA9283 (Memorandum Opinion 19). Public.Resource.Org,

Appellee’s Br. 20, does not identify a single word of any Work that a government

official supposedly wrote.

      Public.Resource.Org’s argument for an extension of Georgia would stretch

the government edicts doctrine beyond recognition. Public.Resource.Org argues

that IBR should be treated as if the agency “pasted [the standard] word-for-word into

a regulation,” i.e., the same as a legislature writing into the statute books words

drafted by lobbyists. Id. 20-22. That is not IBR. The specific text of the regulation

or statute authored by the government that effectuates the IBR is a government edict,

not the Works themselves. The Works are referenced and never written word-for-

word into any regulation, statute, or other “law.”

      Beyond that fundamental and dispositive distinction, Public.Resource.Org’s

contentions are wrong for multiple additional reasons.

      First, IBR’ing a preexisting standard is fundamentally different from the

legislature enacting language that a lobbyist created for the sole purpose of inclusion



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in a statute. Plaintiffs generally do not “lobby” for their standards to be IBR’d.

JA265 (SMF ¶56). Unlike lobbyists, standards development organizations do not

develop standards solely for the purpose of government incorporation; standards

have a range of uses, including by industry, insurance companies, and others.

JA265, 270, 279 (SMF ¶¶54, 90, 134); JA699 (Dkt. 118-11, ¶16); JA339 (Dkt. 118-

4, ¶20); JA631 (Dkt. 118-8, ¶10); JA669-670 (Dkt. 118-10, ¶3); JA9265

(Memorandum Opinion 1).          Unlike lobbyists, Plaintiffs make their standards

available for IBR subject to copyright protection.4 See, e.g., JA5574 (Dkt. 199-27,

Ex. P at NFPA-PR0098063) (explaining, as for all NFPA Works, that “[b]y making

these documents available for use and adoption by public authorities . . . NFPA does

not waive any rights in copyright”); JA5063 (2d. Supp. SMF ¶8) (standards bear

copyright notice in favor of Plaintiff); JA2816 (Dkt. 122-8, Ex. 139) (same). And

again—unlike lobbyist-drafted legislation—the text of the standards is not copied

word-for-word into the statute books or regulations.5



      4
        Public.Resource.Org is wrong to dismiss the constitutional issues under the
Takings Clause if IBR were deemed to eviscerate copyright protection. Appellees’
Br. 29. The current public-private partnership in IBR turns on copyright being
protected and a contrary ruling would raise precisely those concerns. CCC, 44
F.3d at 74.
      5
       Public.Resource.Org tries to confuse the issue by speculating that someone
who drafted a bill for a legislator could try to enforce copyright in an enacted statute.
Appellee’s Br. 20-21. There is no evidence anyone has ever made such a claim. If
someone did, a court could address that without undermining IBR. See Seshadri v.
Kasraian, 130 F.3d 798, 805 (7th Cir. 1997) (“Authorizing another to publish under

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      Second, Public.Resource.Org’s equating IBR with lobbyist-drafted bills

ignores Congress’ and the Executive Branch’s decades-long treatment of IBR.

When Congress enacted the Copyright Act of 1976, IBR was an established practice

of federal agencies. See Act of June 5, 1967, Pub. L. No. 90-23, § 552, 81 Stat. 54,

54 (specifically authorizing agencies to IBR). Neither Public.Resource.Org, nor

others advancing similar arguments, can identify any “provision of the Copyright

Act that would terminate existing copyright protection in a work merely because the

work was subsequently incorporated by reference.”        See CPSC Br., Milice v.

Consumer Product Safety Commission, 2 F.4th 994 (D.C. Cir. 2020) (No. 21-1071),

2020 WL 8641276, at *29. The House Report underlying the Copyright Act shows

that Congress did not intend IBR to divest copyright. See H.R. Rep. 94-1476, at 60

(1976) (“[P]ublication or other use by the Government of a private work would not

affect its copyright protection in any way”).

      Congress expressed a clear preference for federal agencies to use privately-

developed standards, whenever possible, in the 1995 National Technology Transfer

and Advancement Act. Appellants’ Br. 6. That Act was based on a congressionally-

authorized study recognizing that organizations “offset expenses and generate

income through sales of standards documents, to which they hold the copyright.”



his sole name would amount to a public disclaimer of authorship”); 3 Nimmer on
Copyright § 10.03[A][7] (implied license).


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National Research Council, Standards, Conformity Assessment, and Trade: Into the

21st Century 32 (1995) (emphasis added). It would have been illogical for Congress

to direct agencies to IBR standards if doing so would destroy copyright and

standards development organizations’ ability to fund the creation of standards in the

first place. See also H.R. Rep. 113-152, at 3 (2013) (standards development

organizations’ “business model[s] could be jeopardized” by allowing third parties to

provide free internet access to standards).

      Likewise, numerous agencies have taken positions demonstrating IBR is

intended to and does preserve copyright. See Appellants’ Br. 7-8; JA287 (SMF

¶¶175, 177); JA972-974 (Dkt. 118-12, Ex. 3 (C. Malamud Dep. 232:14-234:08));

JA1006-1013 (Dkt. 118-12, Ex. 10); supra, 8 (Office of Management and Budget

Circular). Public.Resource.Org is wrong that “the bulk of the Code of Federal

Regulations” is the reason agencies IBR. Appellee’s Br. 5. The Consumer Product

Safety Commission “chose to utilize [IBR] procedures” given “ASTM’s copyright

in its voluntary consensus standard,” while ensuring there were “means of

reasonable access.” CPSC Br., 2020 WL 8641276, at *22-23. The practice of IBR

is reserved for privately-authored works, and agency materials are “inappropriate for

IBR.” 79 Fed. Reg. at 66,268.

      Third, Public.Resource.Org would have judges engage in the vexing exercise

of “attempting to catalog the materials that constitute ‘the law,’” beyond the more



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straightforward determination of authorship. Georgia, 140 S. Ct. at 1507. Does the

purely informational History and Development of the National Electrical Code,

which appears in each edition of NFPA 70, become a non-copyrightable government

edict because the standard has been IBR’d? JA5575 (Dkt. 199-27, Ex. P at NFPA-

PR0098064); JA5097 (2d. Supp. SMF ¶63 (listing similar histories in each NFPA

standard)); JA4991 (Dkt. 198-50, ¶28.b).        What about the text of non-IBR’d

standards or other works that are referenced as requirements within an IBR’d

standard, e.g., Merriam-Webster’s Collegiate Dictionary, 11th edition? JA6924

(Dkt. 199-33, Ex. V at NFPA-PR0020217). What about law review articles that set

forth the legal standard later adopted by a court? E.g., Campbell v. Acuff-Rose

Music, Inc., 510 U.S. 569, 579 (1994) (relying on Leval, Toward a Fair Use

Standard, 103 Harv. L. Rev. 1105 (1990), for “transformative” test of fair use).

Although Public.Resource.Org identifies no limiting principle to prevent its

government-edicts theory from unsettling the copyright status of an untold number

of privately-authored works, the Supreme Court’s authorship-based analysis

properly answers each of these questions: no.

III.   Public.Resource.Org Fails To Satisfy Its Burden To Show That Its
       Wholesale Appropriation Of Plaintiffs’ Works Is Fair Use.

       In ASTM II, this Court said that fair use had to be analyzed “standard by

standard” and “use by use,” according to the guidance this Court set forth for

applying each of the four fair use factors. 896 F.3d at 451. Ignoring this instruction,


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Public.Resource.Org asserts that whenever a governmental entity IBR’s a standard,

it is per se fair for any party in Public.Resource.Org’s position to copy and distribute

that standard without restriction. Public.Resource.Org’s overbroad conception of

fair use sidesteps the careful inquiry this Court mandated and well-established fair

use principles.      The Court should reject Public.Resource.Org’s dramatic

restructuring of fair use.

        A.     Factor 1: Public.Resource.Org fails to show that its use of
               Plaintiffs’ Works is transformative.

             1.     Public.Resource.Org copies portions that are not essential
                    to complying with legal duties.

      This Court said “distributing copies of the law” to facilitate public access

could be a transformative use. But it made clear “the law” is not co-extensive with

all parts of an IBR’d standard. ASTM II, 896 F.3d at 450. The Court differentiated

between portions of Plaintiffs’ Works critical to complying with the law (suggesting

transformativeness), and portions that are not (cutting against transformativeness).

      Plaintiffs’ opening brief reviewed substantial evidence showing that large

portions of the copied Works are not “essential to understanding one’s legal

obligations,” id. at 453. Appellants’ Br. 19-23. But Public.Resource.Org barely

tries to defend the district court’s failure to analyze the standards as this Court

directed. Public.Resource.Org claims the district court did not have to do this work,

because federal agencies already did the work for it. Under this view, whenever a



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federal agency IBR’s a standard without an express limitation, the agency has

decided the entire standard is essential to complying with the law. See Appellee’s

Br. 32-35. In Public.Resource.Org’s view, when the Department of Veterans Affairs

referred to NFPA 101 without expressly limiting its IBR to the portions of that Work

dealing with veterans cemeteries, everything—414 pages, cover-to-cover, JA6502-

6915 (Dkt. 199-31, Ex. T at NFPA-PR0019355-NFPA-PR0019768)—in that Work

as a matter of law became essential to comprehending the requirements for such

cemeteries, including material designated for “informational purposes only,” and

sections that relate to one- and two-family dwellings and day-care occupancies.6

       No authority supports Public.Resource.Org’s radical theory. The statute

authorizing federal agencies to IBR does not say anything that supports

Public.Resource.Org’s theory. 5 U.S.C. § 552(a). Nor do OFR’s regulations on

IBR. Those regulations state agencies should identify standards “precise[ly] [and]

complete[ly],” 1 C.F.R. 51.9(a), but they also say language is “precise and complete

if it,” inter alia, “[s]tates the title, date, edition, author, publisher, and identification




       6
         Public.Resource.Org also refuses the logical consequence of its argument—
that when an agency has specified particular sections of a standard or a specific
edition of a standard only those sections impose a legal obligation. See, e.g.,
Appellants’ Br. 28-29. Public.Resource.Org asks the Court to simply excuse as “best
efforts” its copying and distributing in full Works where the incorporating regulation
identifies particular sections or a different edition. Appellee’s Br. 39 (contending
that “differences are largely immaterial”).


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number of the publication,” and “[i]nforms the user that the incorporated publication

is a requirement,” id. § 51.9(b)(2)-(3) (emphases added). The regulation does not

state that the agency has to expressly specify by section number or heading the

portion of the publication that is incorporated or essential to understanding any legal

requirements.

      Public.Resource.Org relies instead on what it calls OFR’s “clear guidance”

and “interpretation” of the regulations, to which this Court supposedly owes

“substantial deference.” Appellee’s Br. 32-33 & n.8. But these sources consist only

of a Document Drafting Handbook and IBR Handbook, and a hearsay email

statement. Id. 6, 33. Public.Resource.Org fails to cite the controlling authority on

deference to an agency’s interpretation of its regulations, Kisor v. Wilkie, 139 S. Ct.

2400 (2019), much less show that such deference applies, which “it often doesn’t,”

id. at 2418.

      First, the relevant regulation, 1 C.F.R. 51.9(b), is not “genuinely ambiguous.”

Kisor, 139 S. Ct. at 2415. The regulation requires the agency to state identifying

information for “the publication” as a whole and the fact “the publication”

establishes a “requirement.” Nothing in the regulation is susceptible to the reading

Public.Resource.Org tries to wring out of it.

      Second, the sources Public.Resource.Org cite do not meet the requirements

for deference. Id. at 2416-18; National Lifeline Ass’n v. FCC, 983 F.3d 498, 507



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(D.C. Cir. 2020). None of them purports to construe 1 C.F.R. 51.9(b), much less

reflects any “fair and considered judgment” of how to construe that regulation.

Kisor, 139 S. Ct. at 2417 (citation omitted). The cited sources are not “authoritative”

or an “official position” on §51.9(b), Kisor, 139 S. Ct. at 2416 (citations omitted),

because they do not show OFR taking a position on Public.Resource.Org’s proffered

interpretation. The Handbooks are simply practical guidance manuals to agencies.

The email is just an informal response to Public.Resource.Org’s founder.

      Agency and OFR practice undercuts Public.Resource.Org’s construction of

§51.9(b). As Plaintiffs demonstrated, numerous IBR’d Works contain sections

expressly stating that they are not legally-binding requirements. Appellants’ Br. 22;

see also, e.g., JA5098 (2d. Supp. SMF ¶64); JA2992 (Dkt. 155-6, Ex. A at NFPA-

PR0017561); JA5100-5102 (2d. Supp. SMF ¶67); JA5223 (Dkt. 199-17, Ex. F at

NFPA-PR0014507); JA5424 (2d. Supp. SMF ¶71); JA6956 (Dkt. 199-34, Ex. 1 at

6). Other Works are IBR’d by regulations whose plain language makes clear that

the standards are incorporated as reference procedures. Appellants’ Br. 21. Still

other Works have sections that are obviously not essential to understanding any legal

duty—because, for example, those sections address a completely different topic than

the regulation, or on their face provide optional or explanatory material. See id. 19-

23; see also, e.g., JA8860 (Dkt. 213-1, ¶8); JA5121-5222 (Dkt. 199-15); JA5104-

5105 (2d. Supp. SMF ¶75); JA7096-7117 (Dkt. 199-34, Ex. 1 at 146-67). In these



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instances, the agency did not limit its IBR to only mandatory provisions of the Work,

yet it could not rationally have determined the entire standard was necessary to

comply with legal duties.          Despite the agencies not having followed

Public.Resource.Org’s claimed interpretation of the regulation, OFR approved the

IBR,    thus   demonstrating    that   OFR     does    not     read   the     regulation

Public.Resource.Org’s way. See 1 C.F.R. 51.3(b).

       Finally, if Public.Resource.Org’s citations require deference, then so too do

the statements in the IBR Handbook that express OFR’s position that agencies must

respect organizations’ copyrights. Office of the Federal Register, IBR Handbook at

8-9 (July 2018) (recognizing the need to balance copyright interests and that one

way of doing so is to “[m]ake the incorporated material publicly available in read-

only form on the copyright owner’s website”). Indeed, OFR has consistently taken

this position. See Letter from Raymond Mosley, Director of the Federal Register, to

Carl Malamud, at 2 (Aug. 3, 2009), https://law.resource.org/pub/us/case/govdocs/

gov.nara.fedreg_20090803_from.pdf        (explaining    that     “some       documents

incorporated by reference do or may have copyright protection”); see generally

Mosley and Tapella Br. (declining to endorse Public.Resource.Org’s interpretation

of regulations).

       Public.Resource.Org’s backup argument fights this Court’s test. It argues that

copying IBR’d content that is merely “help[ful]” to understanding legal duties is



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transformative. ASTM II, 896 F.3d at 450; Appellee’s Br. 31, 35-36, 39. This Court

said that “where knowing the content of an incorporated standard might help inform

one’s understanding of the law but is not essential to complying with any legal duty,

the nature of PRO’s use might be less transformative and its wholesale copying, in

turn, less justified.” ASTM II, 896 F.3d at 450. A rule that draws the line at “helpful”

has no limiting principle, encompassing Plaintiffs’ “explanatory material” that might

be found in introductions, annexes, notes, trainings, and handbooks. NAACP Br.

19-20.

      Public.Resource.Org misstates Plaintiffs’ argument as one that would require

“a sentence-by-sentence analysis.” Appellee’s Br. 32. That is not Plaintiffs’

argument. Appellants’ Br. 30-31. Following this Court’s direction, Plaintiffs

proposed different ways of grouping the Works. Id. 31; see JA5027-5034 (Dkt. 199-

1, at 17-24) (grouping (1) standards not IBR’d by Public.Resource.Org’s identified

reference; (2) optional standards or reference procedures; (3) standards with no

direct legal effect on private party conduct; (4) standards posted wholesale when

only a portion was IBR’d; and (5) merely informational portions or background

text). The district court ignored those groupings. Its analysis of the remanded

questions the Court asked it to answer was perfunctory, incomplete, and in many

cases demonstrably wrong. Appellants’ Br. 24-30.




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      In sum, Public.Resource.Org fails to justify the district court’s factor one

errors.

            2.     Public.Resource.Org’s purpose overlaps with Plaintiffs’ and
                   is non-transformative.

      Public.Resource.Org has not “add[ed] something new, with a further purpose

or different character,” beyond what Plaintiffs already do. Campbell, 510 U.S. at

579. Public.Resource.Org argues that its mission of making “the law” publicly

available is different from Plaintiffs’ public-service missions, such as promoting

health and safety. But Plaintiffs share this purpose. They put the Works online so

members of the public have access to them. JA266, 272, 285 (SMF ¶¶63-67, 100,

161); JA1014 (Supp. SMF ¶¶23-24); JA5107 (2d. Supp. SMF ¶¶85-87).

      Public.Resource.Org and its amici also contend that its use is transformative

because it makes the Works more “user-friendly” and “genuinely accessible,” and

provides an “archive.”7 Appellee’s Br. 37-38, 40, 46; Sonoma County Br. 5;

NAACP Br. 20. But this Court already rejected these and similar arguments. ASTM

II, 896 F.3d at 450 (rejecting transformative claims based on “converting the works


      7
         Public.Resource.Org speculates that its “archive” might be used by others
for transformative uses, such as research or machine learning, Appellants’ Br. 37,
41, but transformativeness is assessed on a “case by case” basis, Campbell, 510 U.S.
at 581. Whether a hypothetical researcher’s copying, or amicus the National
Association for the Advancement of Colored People’s copying, might be fair is
legally irrelevant to Public.Resource.Org’s fair use defense. Congress has imposed
substantial limitations on archiving that Public.Resource.Org’s model would
undermine. See 17 U.S.C. § 108.


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into a format more accessible for the visually impaired or . . . producing a centralized

database of all incorporated standards”).

      There is no record evidence that low-income communities or print-disabled

users, represented by amici, are unable to access the Works through Plaintiffs’ sites.

The evidence shows Plaintiffs regularly grant requests to use the Works for limited,

non-commercial purposes without charge or at lower cost, and provide

accommodations to users with disabilities. JA364, 371 (Dkt. 118-7, ¶¶13, 65);

JA308 (Dkt. 118-3, ¶10); JA674-675 (Dkt. 118-10, ¶¶18-20); JA1004 (Dkt. 118-12,

Ex. 8 (Comstock Dep. 106:19-22)); JA3851 (Dkt. 155-7, ¶17); JA2961 (Dkt. 155-6,

¶¶4-7); JA2956-2957 (Dkt. 155-5, ¶¶4-6).

      “[A] simple assertion of a subjectively different purpose, by itself, does not

necessarily create” transformative use; what matters “is how the work in question

appears to the reasonable observer.” Brammer v. Violent Hues Prods., LLC, 922

F.3d 255, 263 & n.3 (4th Cir. 2019) (citations and quotation marks omitted).

Public.Resource.Org provides a substitute for Plaintiffs’ Works. Swatch Group

Management Servs. Ltd. v. Bloomberg L.P., 756 F.3d 73 (2d Cir. 2014), is

inapposite. The court described Bloomberg’s use as “arguably transformative”

because it made a company’s earning call publicly available while the underlying

company intended “to restrict the information” to “a relatively small group of




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analysts.” Id. at 85. Here, Plaintiffs and Public.Resource.Org both do the same

thing: they make the Works accessible for free online.8

          B.   Factors 2 and 3: Public.Resource.Org fails to show that the
               nature of Plaintiffs’ Works, and the amount and substantiality
               of its copying, favor fair use.

      Each of these factors “demands an individual appraisal of each standard and

its incorporation” and “is ill-suited to wholesale resolution.” ASTM II, 896 F.3d at

451-52. Plaintiffs showed that, despite a lengthy appendix, the district court did not

give individual consideration to the vast majority of Works. Appellants’ Br. 34-37.




      8
        Although Public.Resource.Org is a non-profit, Plaintiffs maintain that its use
is commercial because it fundraised by promising to copy and distribute Plaintiffs’
Works. JA296-297 (SMF ¶¶227-29); see also $10 million for Project 10^100
winners, Google Blog (Sept. 24, 2010) https://googleblog.blogspot.com/2010/09/
10-million-for-project-10100-winners.html.


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      Public.Resource.Org’s primary response is to repeat its argument that IBR’ing

makes the entire standard “essential.”9 Appellee’s Br. 42-43, 46. As demonstrated,

that argument fails. See supra, III.A.1.10

          C.    Factor 4: Public.Resource.Org failed to meet its burden to show
                a lack of market harm.

               1.   The district court erred in shifting to Plaintiffs
                    Public.Resource.Org’s affirmative-defense burden.

      Public.Resource.Org fails to rebut Plaintiffs’ showing that Campbell and

cases following it place the burden on Public.Resource.Org, the proponent of the

affirmative defense of fair use. Appellants’ Br. 40-42.




      9
          Plaintiffs pointed out that the district court held that the regulation
incorporating ASTM D2036 (1998) supported posting only certain test procedures—
but that for other Works IBR’d by the same regulatory language (ASTM D1688
(1995) and ASTM D512 1989 (1999)), Public.Resource.Org was not limited to
copying test procedures, but could also copy background sections and appendices.
Appellants’ Br. 37-38. Public.Resource.Org argues that the district court treated
ASTM D2036 differently because “it found that only two of the four testing methods
described in that standard had been incorporated,” while all the test procedures in
the other standards were IBR’d. Appellee’s Br. 47. That distinction would explain
why Public.Resource.Org could copy half the test procedures in ASTM D2036 and
all the test procedures in the other standards. But it does not explain the district
court’s holding that Public.Resource.Org could copy material other than test
procedures for ASTM D1688 and ASTM D512.
      10
          Public.Resource.Org’s assertion that partially incorporated standards are
“inherently bound together” with the “uncopyrightable idea” of the agencies’
“decisions” to IBR, Appellee’s Br. 45 (citation omitted), is specious. The “fact” or
“idea” of any agency IBR’ing all or part of a Work can be expressed in a sentence
stating that fact; it does not justify copying it.


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      Princeton Univ. Press v. Mich. Doc. Servs., Inc., 99 F.3d 1381, 1385 (6th Cir.

1996), Appellee’s Br. 49, does not change this. The court not only found the

defendant’s use was commercial, but it explained that market harm was obvious

because if others “were to start doing what the defendants have been doing here,”

the plaintiffs’ “revenue stream would shrivel and the potential value of the

copyrighted works” would drop. Princeton, 99 F.3d at 1387. The same is true here.

             2.        The uncontroverted evidence shows that
                       Public.Resource.Org’s copying causes market harm.

      The pivotal question is “whether Defendants’ use—taking into account the

damage that might occur if ‘everybody did it’—would cause substantial economic

harm.” Cambridge Univ. Press v. Patton, 769 F.3d 1232, 1276 (11th Cir. 2014)

(emphasis added). The answer is clear: if everyone could copy and distribute any

Work IBR’d anywhere, that would cause Plaintiffs substantial economic harm. “The

threat of market substitution here is great and thus the fourth factor looms large in

the overall fair use analysis.” Id. at 1275. Even if some copying of limited portions

were permissible fair use, Public.Resource.Org’s wholesale copying and distribution

cannot be justified.

      Public.Resource.Org argues there was no harm because witnesses said it was

difficult to quantify precisely how many sales Plaintiffs had lost because of

Public.Resource.Org’s conduct. Appellee’s Br. 49-50. This argument improperly

conflates the fact of harm to potential markets (which is all that needs to exist) with


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the precise quantification of harm. McGucken v. Pub Ocean Limited, 42 F.4th 1149,

1163 (9th Cir. 2022) (“an infringing use would destroy a derivative market when the

infringing work is of the same type as existing works by licensed users.”); see also

Soc’y of Holy Transfiguration Monastery, Inc. v. Gregory, 689 F.3d 29, 64 (1st Cir.

2012) (rejecting argument that plaintiff had “not shown specific lost sales or profits”

because “inquiry cannot be reduced to strictly monetary terms”).            The cited

testimony, Appellee’s Br. 49-50, actually explained that Public.Resource.Org’s

copying and distribution “caused a drag on [ASTM’s] revenue,” even if the amount

was not easily quantified, JA8082 (Dkt. 204-51, Grove Dep. 145:07-12). The

evidence further showed that Public.Resource.Org took users who would otherwise

have gone to Plaintiffs’ free-access sites and may have purchased Plaintiffs’ Works,

JA5110-5114, 5115 (2d. Supp. SMF ¶¶97-99, 102); infra, 30; and that Plaintiffs’

licenses would have less value if licensees could obtain the Works from

Public.Resource.Org, JA5106, 5115 (2d. Supp. SMF ¶¶82, 101); JA4995 (Dkt. 198-

50, ¶36).

      The record includes an unrebutted expert economist opining on the fact of

economic harm and the consequences of Public.Resource.Org’s conduct if

unaddressed. That evidence analyzed the specific numbers of views and downloads

of the Works through Public.Resource.Org (as of 2014) and estimated that, in light

of an NFPA study showing a ten percent decrease in downloads of NFPA 70 due to



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numerous online postings of NFPA standards, NFPA was experiencing an equal or

greater impact after Public.Resource.Org’s postings. JA763-765 (Jarosz Report

¶133).     It also included the economic consequences if Public.Resource.Org’s

conduct—which currently covers a small fraction of Plaintiffs’ standards—were not

stopped: “virtually all of the [] revenues”—

                      —“could be lost.” JA765-766, 815 (Jarosz Report ¶¶134-35,

Tab 5). And it highlighted that many of Plaintiffs’ current most important standards,

which are not at issue here, have been IBR’d, meaning that giving

Public.Resource.Org free rein to continue would lead to a substantial impact on

Plaintiffs’ standards. JA765-766 (Jarosz Report ¶135)

         The record also contains abundant evidence that market harm will only grow

if Public.Resource.Org and everyone else can wholesale copy and distribute the

Works. Plaintiffs sell copies of their Works to the industries and professionals that

use them in their jobs. JA5105-5106 (2d. Supp. SMF ¶¶77-80); JA4994, 4998 (Dkt.

198-50, ¶¶34, 43); JA674 (Dkt. 118-10, ¶¶17-18); JA4944 (Dkt. 198-49, ¶14).

Public.Resource.Org’s copying naturally leads to at least some of those industry

professionals using its unlicensed copies instead of purchasing Plaintiffs’ Works.

JA5109 (2d. Supp. SMF ¶¶94-95); JA4995 (Dkt. 198-50, ¶35); JA6946 (Dkt. 198-

53, ¶5); JA4944 (Dkt. 198-49, ¶16); see also AFSCME Br. 7. An engineering firm

reached out to Public.Resource.Org asking “How might we access the documents



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you offer?” and another engineer asked, after this Court’s prior remand, “Does

Friday’s decision mean you can update the site?” JA5108-5109 (2d. Supp. SMF

¶93); JA4938, 4935 (Dkt. 198-48, Ex. 173 at PRO_00267293, PRO_00267241).

        The fact of “everyone doing” what Public.Resource.Org has done is not

theoretical. UpCodes obtained venture-capital funding for its for-profit business,

which entices paying subscribers with unrestricted access to NFPA and ASHRAE

Works. See UpCodes, Inc., No. 21-5262 (C.D. Cal.). Amicus American Federation

of State, County, and Municipal Employees argues that union members and

management should be able to obtain the Works for free instead of paying for them.

AFSCME Br. 3-4.

              3.    Public.Resource.Org’s truncated responses to this Court’s
                    questions further confirm market harm.

        The Court asked the district court and parties to attend to three market-harm

questions on remand. ASTM II, 896 F.3d at 453. Public.Resource.Org devotes 12

lines to these questions. Appellee’s Br. 51. Public.Resource.Org tries to minimize

these questions because the record does not support its fleeting attempt to answer

them.

        First, Public.Resource.Org says Plaintiffs are like “[p]ublishers of public

domain works,” id., but that is not true. A public-domain publisher pays distribution,

not content-creation, costs. Plaintiffs, in contrast, incur millions of dollars annually

to develop and update their Works. See supra 5.


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      Second, Plaintiffs’ read-only access—as compared to Public.Resource.Org’s

unauthorized wholesale distribution—brings individuals and professionals to

Plaintiffs’ websites, where they may buy a copy, subscribe, or purchase a training or

other resource. JA5107-5109 (2d. Supp. SMF ¶¶88-90, 94); JA4998-4999 (Dkt.

198-50, ¶45); JA6946 (Dkt. 198-53, ¶4); JA4944 (Dkt. 198-49, ¶15).

Public.Resource.Org siphons those potential customers away.

      Third, Public.Resource.Org says it “seeks” to post only “the law,” Appellee’s

Br. 51, but as demonstrated in Section III.A, it posts more than that.

      Fourth, contrary to Public.Resource.Org’s unsubstantiated statement that

“superseded” versions have “minimal” commercial value, Public.Resource.Org

admits that they are often perfect substitutes for later editions. Appellee’s Br. 50;

id. 39 (admitting “post[ing] . . . an identical reissue of the incorporated standard”);

JA5109 (2d. Supp. SMF ¶96); JA4944 (Dkt. 198-49, ¶17).

             4.     At a minimum, there is a disputed fact issue on factor four.

      Plaintiffs should prevail as a matter of law on factor four, but if not, the

question should be remanded.       Drawing all reasonable inferences in favor of

Plaintiffs, there is at least a disputed fact question on market harm. JA8808-8816

(Dkt. 212-1, ¶¶133-65).

      Echoing the district court’s erroneous conclusion, Public.Resource.Org says

Plaintiffs failed to show market harm for several years before that court’s order.



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Appellee’s Br. 48. But this ignores that Public.Resource.Org, at the district court’s

request, stopped posting Plaintiffs’ Works from November 2015 until at least July

2018. JA289 (SMF ¶¶185-86); JA5063 (2d. Supp. SMF ¶¶11-12). Courts exclude

that time from the calculus. See Suntrust Bank v. Houghton Mifflin Co., 268 F.3d

1257, 1275 n.32 (11th Cir. 2001) (relevant period for assessing harm was after the

court “lifted the injunction”). From July 2018 through present, Public.Resource.Org

almost entirely refrained from posting the most updated versions of IBR’d Works,

further masking the effect of unrestrained infringement. Starting in January 2019,

Public.Resource.Org posted a single more-current standard, the then-most-recent

edition (2017) of NFPA’s National Electrical Code. JA5117 (2d. Supp. SMF ¶110);

JA4994 (Dkt. 198-50, ¶30); JA4933 (Dkt. 198-48, Ex. 167 at 6). Discovery was

open for only six months after that. See Order, Feb. 26, 2019 (reopening case) and

Order May 22, 2019 (fact discovery closed Sept. 9, 2019).11

      This Court said Plaintiffs “are right to suggest that there may be some adverse

impact on the market for the copyrighted works [Public.Resource.Org] reproduced




      11
           In that time period, NFPA 70 (2017) was accessed through
Public.Resource.Org 5,320 times, JA4933 (Dkt. 198-48, Ex. 167 at 6), and NFPA’s
overall sales, largely driven by sales from its flagship standard, NFPA 70, had also
been decreasing, including through this time period. JA4995 (Dkt. 198-50, ¶38).
The most recent access count for NFPA 70 through Public.Resource.Org has now
increased seven times.         See Internet Archives, https://archive.org/details/
gov.law.nfpa.nec.2017/gov.law.nfpa.nec.2017/ (accessed Jan. 13, 2023).


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on its website,” and simply noted that “it remains unclear from this record just how

serious that impact is.” ASTM II, 896 F.3d at 453. The district court previously

recognized that “the only logical conclusion” is that “where consumers in the online

marketplace are currently presented with the option to purchase a PDF or hard copy

version of Plaintiffs’ standards directly from them, or may download a PDF of an

identical standard for no cost,” “this choice negatively impacts the potential market

for Plaintiffs’ standards.” JA4041 (Dkt. 175, at 39); McGucken, 42 F.4th at 1164

(potential market harm when infringing work was a “ready market substitute”). At

a minimum there is a genuine dispute of fact that if Public.Resource.Org’s conduct

became unrestricted and widespread, it would adversely impact the market for the

Works and the market for derivative works.

      In addition to the evidence cited above, judicially-noticeable evidence shows

that, since the summary judgment record closed, NFPA’s revenue has gone down

cycle-over-cycle following the lifting of the district court’s injunction. Between

2016 (a year in which a new version of the National Electrical Code was released

and no version of the Code was available through Public.Resource.Org) and 2019

(the next year in which a new version of the Code was released but

Public.Resource.Org had posted prior versions of the Code), NFPA’s publication




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revenue was down $5.6 million.12 These figures were not available when the district

court considered the evidence and show that NFPA’s revenue decreased after

Public.Resource.Org resumed distribution of NFPA’s standards.

             5.    The claimed “public benefits” from Public.Resource.Org’s
                   unrestricted copying are illusory.

      Public.Resource.Org argues that Google LLC v. Oracle Am., Inc., 141 S. Ct.

1183 (2021), requires the Court to factor into the fourth factor “the public benefits

the copying will likely produce,” id. at 1206. Appellee’s Br. 48, 53-55. But Google

said this was relevant because of the unique context—computer program application

programming interfaces—where enforcement of the copyright risked public harm

because programmers faced potentially prohibitive switching costs that could deter

new creativity. 141 S. Ct. at 1206, 1208.

      No similar concerns exist here. Plaintiffs provide online access to the Works,

JA5107 (2d. Supp. SMF ¶85), so anyone who wants to know what they say does not

have to buy a copy. This case involves the “normal[] conflict” between “potential

or presumed losses to the copyright owner” and “copyright’s basic objective:

providing authors with exclusive rights that will spur creative expression.” Google,


      12
          NFPA’s tax filings are available at https://projects.propublica.org/
nonprofits/organizations/41653090. Its expenses and revenues are typically in the
tens of millions. Publication revenue was $48 million in 2016 and $42.4 million in
2019, with increased expenses. Compare Form 990s, Part III.4a. This Court can
take judicial notice of information in tax filings. See MidCap Media Finance, LLC
v. Pathway Data, Inc., 929 F.3d 310, 315 (5th Cir. 2019).


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141 S. Ct. at 1206; see also Dr. Seuss Enters., L.P. v. ComicMix LLC, 983 F.3d 443,

461 (9th Cir. 2020) (same).

      Public.Resource.Org claims that even absent copyright protection, Plaintiffs

would have incentives to develop standards. Appellee’s Br. 52-53. But Plaintiffs

would not have the means that copyright provides to act on those incentives. JA741-

743, 745-746, 748-749, 763-766 (Jarosz Report ¶¶80, 82-83, 90-91, 97-98, 131-38);

JA264-265, 273, 283-284 (SMF ¶¶45-48, 51-52, 106-108, 152-156); JA5105-5107

(2d. Supp. SMF ¶¶77-84) If copying like Public.Resource.Org’s becomes pervasive,

the public-private partnership in standards that has served the public well for decades

may cease to exist.

IV.   Public.Resource.Org’s Arguments Do Not Change The District Court’s
      Abuse Of Discretion In Refusing To Enjoin The Infringement It Found.

      The district court, after rejecting the fair use defense and finding

Public.Resource.Org infringed 32 Works, JA9300 (Memorandum Opinion 36),

found:

       Plaintiffs suffered at least a threshold amount of irreparable harm.

          JA9309-9311 (Memorandum Opinion 45-47).

       Monetary relief is inadequate, as Public.Resource.Org does not have the

          financial means to satisfy any judgment. JA9310 (Memorandum Opinion

          46); JA299-300, 304 (SMF ¶¶241-44, 272-73); JA5108, 5117 (2d. Supp.

          SMF ¶¶92, 111).


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       The balance of hardships “weighs strongly in favor of an injunction,” and

         an injunction serves the “policy interests that underlie the Copyright Act”

         by preserving the necessary financial incentives to “ensure continued

         development of technical standards.” JA9311 (Memorandum Opinion 47).

Given these findings, it was an abuse of discretion to allow Public.Resource.Org to

continue its infringement unabated. Public.Resource.Org’s contrary arguments fail.

      First, Public.Resource.Org’s argument that Plaintiffs have not proven

ownership of the 32 works, Appellee’s Br. 56, is specious, see supra, II.

      Second, Public.Resource.Org is wrong that Plaintiffs suffered no economic

harm. Appellee’s Br. 56. Plaintiffs demonstrated several forms of harm; their

showing was not “meager.” JA9295 (Memorandum Opinion 31); see Appellants’

Br. 50-55; supra, III.C.2

      Third, Plaintiffs’ future harm is not speculative.        Following remand,

Public.Resource.Org reposted the 32 Works, notwithstanding the lack of IBR.

JA9300 (Memorandum Opinion 36). Copies of these Works were viewed and

downloaded over 42,000 times. See JA5110-5114 (2d. Supp. SMF ¶98) (views and

downloads of the 32 Works).

      Fourth, Public.Resource.Org’s track record makes the likelihood of future

infringement manifest. Appellants’ Br. 54.




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      Fifth, Public.Resource.Org is wrong that “‘harm to the exclusivity of

[Plaintiffs’] rights’ is irrelevant under eBay [Inc. v. Mercexchange, LLC].”

Appellee’s Br. 57.     An invasion of exclusive rights alone may not create a

presumption of irreparable harm, but it is not irrelevant. See, e.g., Metro. Reg’l Info.

Sys., Inc. v. Am. Home Realty Network, Inc., 888 F. Supp. 2d 691, 712 (D. Md. 2012)

(plaintiff “demonstrated that its loss of exclusive control over its copyrighted content

is likely to lead to irreparable harm”), aff’d, 722 F.3d 591 (4th Cir. 2013). Injunctive

relief is necessary here because everyone who has downloaded (or will download) a

copy from Public.Resource.Org can become an entirely new engine of unrestricted

distribution. See Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp.

2d 1197, 1218 (C.D. Cal. 2007) (“virtually unstoppable” threat of future copyright

infringement for downloaded works (citation omitted)).

      Sixth, Public.Resource.Org is wrong that “reputational injury” is categorically

irrelevant to the copyright irreparable harm inquiry.             Appellee’s Br. 58.

Public.Resource.Org misreads Garcia v. Google, Inc., 786 F.3d 733, 744 (9th Cir.

2015) (en banc),13 which said that “harm must stem from copyright—namely, harm

to [the] legal interests as an author.” Id. (citing Salinger v. Colting, 607 F.3d 68, 81



      13
          In Garcia, the Ninth Circuit did not “foreclose” any argument for
reputational injury. 786 F.3d at 746. It found that the particular harm plaintiff
sought to prevent, including death threats and reputational injury, were too
attenuated.


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& n.9 (2d Cir. 2010)). Public.Resource.Org caused reputational harm here by

introducing errors that sometimes significantly alter the meaning of Plaintiffs’

Works.    See, e.g., JA295 (SMF ¶219).          The risk that, notwithstanding the

disclaimers, a reader will misattribute these errors to Plaintiffs poses a significant

reputational risk derived from Plaintiffs’ legal interests as the author of the original

works. See Nintendo of Am. Inc. v. Lewis Galoob Toys Inc., No. 90-15936, 1991

WL 5171 (9th Cir. Jan. 24, 1991) (recognizing irreparable harm based on

impairment to plaintiff’s reputation); Metro. Reg’l, 888 F. Supp. 2d at 712 (finding

irreparable harm where defendant’s inaccuracies were “likely to affect the credibility

and integrity of the content published and disseminated by MRIS, and as a result,

MRIS’s reputation”).

      The balance of hardships and public interest favor Plaintiffs.           JA9311

(Memorandum Opinion 47). Public.Resource.Org essentially admits that it intends

to post the entirety of any of the 32 Works if some portion of that work is ever IBR’d.

Appellee’s Br. 58. As Public.Resource.Org concedes, if circumstances change that

merit modification of an injunction, Public.Resource.Org can seek such

modification, see id., and it has admitted it will face no financial harm in the

meantime, JA305 (SMF ¶277). See Stormans, Inc. v. Selecky, 586 F.3d 1109, 1139

(9th Cir. 2009) (court must weigh “likely consequences of the injunction” which

cannot be “insubstantial” and “must be supported by evidence”).



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                                    CONCLUSION

      The Court should vacate and remand the district court’s decision in part and

reverse in part.




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Dated January 13, 2023                  Respectfully submitted,

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      This brief complies with the type-volume limitation of Rule 32(a)(7)(B). As

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                          CERTIFICATE OF SERVICE

      I certify that on January 27, 2023, a true and correct copy of this Appellants’

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to all counsel of record. I certify that all participants in this case are registered

CM/ECF users.

Dated: January 27, 2023                      /s/ J. Kevin Fee
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